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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS

LYUDMILA S. MASLYAKOVA,                        )
("Grandma"),                                   )   CASE NO. ___________
                   Plaintiff,                  )
       v.                                      )
                                               )
SUPREME JUDICIAL COURT                         )
OF THE COMMONWEALTH                            )
OF MASSACHUSETTS ("SJC"),                      )   On behalf of the people, we submit our
                                               )   complaint for redress of ongoing
Honorable Justice Ralph D. Gants, in his )         deprivation of; "...life, liberty, or property,
official capacity as Chief Justice of SJC,     )   without due process of law...", in violation
                                               )   of the Fourteenth Amendment of
Honorable Justice Barbara A. Lenk, in her )        the United States Constitution.
official capacity as Associate Justice of SJC, )                            /s/ Ilya Liviz Sr.
                                               )                            Legal Code Jurist
Honorable Justice Frank M. Gaziano, in his)
official capacity as Associate Justice of SJC, )
                                               )
Honorable Justice David A. Lowy, in her )
official capacity as Associate Justice of SJC, )
                                               )
Honorable Justice Kimberly S. Budd, in her)
official capacity as Associate Justice of SJC, )   SEASON I - EPISODE II:
                                               )   CIVIL LIBERTIES SCRIPT FOR
Honorable Justice Elspeth B. Cypher, in her)       ADMINISTRATIVE DENIAL OF
official capacity as Associate Justice of SJC, )   ACCESS TO JUSTICE WITH
                                               )   ISSUANCE OF WRIT OF MANDAMUS
Honorable Justice Scott L. Kafker, in his )        DIRECTING THE SJC TO GRANT
official capacity as Associate Justice of SJC, )   PRESENT & FUTURE REDRESS TO
                                Defendants. )      VEHCLE INFRACTION APPEALS
___________________________________ )




                          - EQUAL JUSTICE and LIBERTY for ALL -
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                           FOR THE PEOPLE SUBMISSION
                                 collaborating efforts of our
                     Civil Rights in association with Civil Liberties
                              a Legal Code Jurist production
                     starring Lyudmila S. Maslyakova ("Grandma")
           presented in U.S. District Court for the District of Massachusetts
                directed by Honorable Justice of the federal district court
written by Ilya Liviz Sr. in accordance with Fed. R. Civ. Pro. and the U.S. Constitution
           in compliance with 28 U.S.C. § 2283 pursuant to 42 U.S.C. § 1983
      based on True Events taking place within Commonwealth of Massachusetts
                   published October 3rd in the year 2018 of our lord.




                           The Content of This Complaint Has Not Been Evaluated
       NR                  Pursuant to Fed. R. Civ. Pro. Rule 12(b)(6) - It is Being
                           Submitted to State's Attorney General and Commission on
     No Redaction          Judicial Conduct for Additional Review and Consideration.
 Identification of children and other information has been redacted where
 necessary pursuant to Local CM/ECF Adm. Pro. R. N. (1-5), & S., and
 Fed. R. Civ. P. 5.2, Fed. R. Crim. P. 49.1, and the E-Government Act of
 2002, personal identifiers (PID) will be partially redacted unless they are
 already known to the public. Approved for public reproduction.
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"Civil Rights Act, Rehabilitation Act, Americans with Disabilities Act, and many
other life-saving law would not be possible without the dedicated efforts of the
congress - everyone deserves a chance."
                                                       /s/ Ilya Liviz Sr.
                                                       Legal Code Jurist




                            POWER TO THE PEOPLE
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                        VERIFIED CIVIL LIBERTIES COMPLAINT
                          I, Ilya Liviz Sr., hereby swear as followed:

What began as a simple ticket appeal, turned into a Grandma's bold fight for access to justice!


                                           the PLOT

  1. Plaintiff Lyudmila S. Maslyakova ("Grandma"), an elderly and partially disabled citizen
     of the Commonwealth, married to the only man she has ever known for more than fifty
     (50) years, and at all times is a qualified driver for the handicap placard. On a particular
     day she was dropping off her husband at the store, when she was pulling out of the
     handicap parking, a police officer did not allow her to leave and cited her for the new law
     that punishes people for using other people's placard; she now faces an immediate
     suspension of her license if this court, of last resort, does not come to her aide.

                                         the THEME

  2. The complaint seeks injunctive and declaratory relief for constitutional violation of
     procedural due process access to the courts - Eleventh Amendment's state immunity does
     not apply.

  3. Constitutional infirmity involves the state's highest court which concerns non-judicial
     administrative procedural violations - judicial immunity does not apply.

  4. This Honorable Court is not asked to modify any state judgment; it concerns
     administrative denial to access to the court - Rooker-Feldman doctrine does not apply.

  5. SJC has failed to offer a refundable deposit as an option to a fee in violation of federal
     declaration made in Crawford v. Blue, 271 F. Supp. 3d 316 (D. Mass. 2017) - Anti
     Injunction Act does not apply.

  6. Complaint seeks redress to deprivation of constitutional rights caused by the state's
     highest court's administrative decision and control; there is no judgment to review -
     Judicial Immunity does not apply. (If the action in question is not judicial in nature, such
     as when the judge performs an administrative, legislative or executive act, there is no
     judicial immunity for money damages. Huminski v. Corsones, 396 F.3d 53, 75 (2d Cir.
     2005).

  7. The pending injury is based on procedural due process, denial of access to the highest
     court, a violation of Fifth & Fourteenth Amendments that are administratively regulated
     by Honorable Justices of the state's highest court who are defendants to this litigation; the
     state law and Massachusetts constitution requires recusal to avoid violation of judicial
     code of ethics and impropriety, the state lacks appellate relief for the alleged
     constitutional infirmity - Younger doctrine does not apply.
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8. The lack of state review on the matter is created by state's own constitution which
   requires the state's justices to recuse themselves from cases that would decide a matter
   that is simultaneously pertains to misfeasance alleged against them - Abstention does not
   apply. See Co-Star's Duties infra. ("A justice may not issue an order of determination
   who is the party of the alleged constitutional violation." See Mass. Const. Part the
   Second, c. 6, art. 5.

                                        the STAGE

9. This Honorable Court shall have original jurisdiction of all civil actions arising under the
   Constitution, laws, or treaties of the United States. See 28 U.S.C. § 1331.

10. This Honorable Court shall have original jurisdiction of any civil action authorized by
    law to be commenced by any person to redress the deprivation, under color of any State
    law, statute, ordinance, regulation, custom or usage, of any right, privilege or immunity
    secured by the Constitution of the United States or by any Act of Congress providing for
    equal rights of citizens or of all persons within the jurisdiction of the United States. See
    28 U.S.C. § 1343(a)(3).

11. This Court possesses personal jurisdiction over Defendants, who are all citizens of
    Massachusetts.

12. Venue is proper in this district because multiple defendants reside in this district and
    because a substantial part of the events or omissions giving rise to the claims alleged
    herein occurred in this district. See 28 U.S.C. § 1391(b)(l), (2).

                                 the CO-STAR DUTIES

13. The Supreme Judicial Court of the Commonwealth of Massachusetts (hereinafter
    "SJC") is the highest court in the judicial system of the State of Massachusetts, has the
    final authority to determine constitutionality of State Law and conduct, and duty of
    general superintendence of all courts of inferior jurisdiction to correct and prevent errors
    and abuses therein. See M.G.L. c. 211, § 3.

14. The question of law concerns a protected group of individuals who are immune to the law
    Grandma is being subjected to because it was to protect such group thereby taking away
    subject matter jurisdiction of the court; the answer is of great public importance because
    state and federal constitution prohibits enforcement of this law against my client - the full
    court must answer this question; "...other matter clearly affecting the public interest or an
    entire industry, a single justice shall file with the order of transfer a statement of his
    reasons therefor." See M.G.L. c. 211, § 4A,

15. When there is a question of law on appeal, it shall be heard and determined by the SJC;
    "[q]uestions of law arising upon exceptions, report, or appeal shall be heard and
    determined by the full court." See M.G.L. c. 211, § 5.
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16. "Questions of law arising upon a trial ... by reason of an opinion, direction, order or
    refusal of one justice in matter of law... and so much of the case as is necessary for
    understanding the question shall be reported." See M.G.L. c. 211, § 6. (Emphasis added.)

17. SJC Suffolk County, on a given day, has a single justice of the SJC presiding to make
    appropriate rulings to petitions filed therein; when the Single Justice of the SJC addresses
    a question of law, he/she has the powers of a full court. See M.G.L. c. 211, § 20.

18. The Appeals court has authority to; " carry into execution its judgments, decrees,
    determinations and orders in matters within its jurisdiction according to the rules and
    principles of common law and the Constitution and laws of the commonwealth, and
    subject to the appellate jurisdiction, supervision and superintendence of the supreme
    judicial court." See M.G.L. c. 211A, § 5. (Emphasis added.)

19. The justices have taken an oath to abide by the constitution; "...do solemnly swear and
    affirm, that I will faithfully and impartially discharge and perform all the duties
    incumbent on me... to the rules and regulations of the constitution...". See Mass. Const.
    Part the Second, c. 6, art. 2 at ¶ 6.

20. A justice may not issue an order of determination who is the party of the alleged
    constitutional violation. See Mass. Const. Part the Second, c. 6, art. 5.

21. Legislature nor the SJC are allowed to change law or alter court proceedings, that violate
    rights and liberties created by the constitution. See Mass. Const. Part the Second, c. 6,
    art. 6.

22. If this matter is to remain in state court it would create impropriety which is conduct that
    constitutes grounds for discipline under M.G. L. c. 211C, § 2(5), and conduct that
    undermines a judge's independence, integrity, or impartiality. See Ex. A, p. 43, preamble
    at ¶ 2. and p. 49, Rule 1.1, 1.2, 2.1 at ¶ 2, 1.2, 2.10, and 2.15. Moreover, if SJC was to
    find in favor of Grandmother, it would mean they would have to find against themselves.
    See e.g. Gibson v. Berryhill, 411 U.S. 564 (1973) (enjoining ongoing Board of Optometry
    proceedings because board members with “substantial pecuniary interest in legal
    proceedings should not adjudicate these disputes.”); Cf. Cobb v. Supreme Judicial Court
    of Massachusetts, 334 F. Supp. 2d 50, (2004) (Holding failure to move for recusal of the
    Justice waives claiming judicial bias later.)

23. "The courts shall, respectively, make and promulgate uniform codes of rules, consistent
    with law, for regulating the practice and conducting the business of such courts in cases
    not expressly provided for by law, for the following purposes: First, Simplifying and
    shortening pleadings and procedure. Second, Prescribing the terms upon which
    amendments will be allowed or unnecessary counts and statements stricken from the
    record; discouraging negligence and deceit; preventing delay; securing parties from
    being misled; placing the party not in fault as nearly as possible in the condition in
    which he would have been if no mistake had been made; distinguishing between form
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   and substance; and substituting fixed and certain requirements for the discretion of the
   court. Third, Conducting trials. Fourth, Presenting distinctly the questions to be tried by
   the jury. Fifth, Giving a party such notice of the evidence which is intended to be offered
   by the adverse party as will prevent surprise and enable him to prepare for trial. Sixth,
   Prescribing such forms of verdicts as will place upon record the finding of the jury.
   Seventh, The entry of judgment by the clerk under a general order in all cases ripe for
   judgment. Eighth, Expediting the decision of causes and securing the speedy trial
   thereof. Ninth, Remedying abuses and imperfections in practice and diminishing
   costs. Tenth, Filing and hearing motions to set aside verdicts and notifying adverse
   parties thereof. Tenth A, Making effective the declaratory procedure provided by chapter
   two hundred and thirty-one A." See M.G.L. c. 213, § 3 (emphasis added.)

                                      the SETTING

24. This Honorable Court is able to issue its Declaratory Judgment pursuant to 28 U.S.C. §
    2202, and is judicial immunity does not bar claims for injunctive relief where declaratory
    judgment was violated or where declaratory relief was unavailable. Montero v. Travis,
    171 F.3d 757, 761 (2d Cir. 1999) (quoting Federal Court Improvements Act of 1996
    amendments to § 1983). Specifically, Grandma was asking the highest court to rule on
    her motion to waive fees - the court did not hear accept, let alone even acknowledge her
    motion.

25. Constitutional infirmity involves payment for administrative review. This concerns non-
    judicial administrative procedure for which there is lack of judicial immunity.

26. Alternately, every person who, under color of any statute, ordinance, regulation, custom,
    or usage, of any State or Territory or the District of Columbia, subjects, or causes to be
    subjected, any citizen of the United States the deprivation of any rights, privileges, or
    immunities secured by the Constitution and laws, shall be liable to the party injured in an
    action at law, suit in equity, or other proper proceeding for redress, except that in any
    action brought against a judicial officer for an act or omission taken in such officer’s
    judicial capacity, injunctive relief shall not be granted unless a declaratory decree was
    violated or declaratory relief was unavailable. See 42 U.S.C. § 1983.

27. The U.S. Supreme Court has declared that; "due process of law prohibits a state from
    denying, solely because of inability to pay court fees and costs, access to its courts to
    indigents..." See Boddie v. Connecticut, 401 U.S. 371 (1971) (Concluding that the Due
    Process Clause of the Fourteenth Amendment requires that appellants be afforded an
    opportunity to go into court without paying.) See also Mathews v. Eldridge, 424 U.S.
    319; "The fundamental requirement of due process is the opportunity to be heard “at a
    meaningful time and in a meaningful manner."(Relying on Fifth and Fourteenth
    Amendment.)

28. Grandma has been found responsible for inappropriately misusing a handicap placard
    which is designed to allow parking for qualified individuals like herself; she is appealing
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   on grounds that the court lacked subject matter jurisdiction to find her responsible
   because she is part of the class the law is designed to protect.

29. "[R]esolution of the issue whether the administrative procedures provided here are
    constitutionally sufficient requires analysis of the governmental and private interests that
    are affected." See Mathews v. Eldridge, 424 U.S. 319, 96 S. Ct. 893, 47 L.Ed. 2d 18
    (1976) Grandma is seeking review of housing court denying her fundamental right to a
    jury trial, which is a much greater right than the court recently determined $25 fee for
    review to violate due process. See Crawford v. Blue, 271 F.Supp.3d 316 (2017)(Finding
    that the state's legitimate and compelling interest in deterring frivolous appeals and
    administrative fiscal concerns, can't outweigh the constitutional property right.) Of note:
    Grandma's request for a fundamental right to a jury will determine whether she can stay
    in her home which has higher constitutional protections. See id. (Recognizing right to
    maintain control over one's home would warrant more due process protection.)

                              the FINANCIAL INTERESTS

30. No further appeals are available because the Supreme Court Justices may not rule on this
    matter. If Defendants do not recuse themselves, they lose the ability to function as a
    judge because they will be in violation of their Code of Judicial Conduct Canon 1, inter
    alia, Requires Compliance with the Law, including the Code of Judicial Conduct. See Ex.
    A, p. 49, at Rule 1.1, & Comment[1] ("[a] judge’s obligation to comply with the law
    ordinarily includes the obligation to comply with the State conflict of interest law, G. L. c.
    268A and c. 268B.")

31. "Any public official, as defined by section one of chapter two hundred and sixty-eight B,
    who in the discharge of his official duties would be required knowingly to take an action
    which would substantially affect such official's financial interests, unless the effect on
    such an official is no greater than the effect on the general public, shall file a written
    description of the required action and the potential conflict of interest with the state ethics
    commission established by said chapter two hundred and sixty-eight B." See M.G.L. c
    268A, § 6A.

32. On top of being subjected to claims of this civil action and violations of the Code of
    Judicial Conduct, if the defendants attempt to preside over this matter in any way, they
    will be in violation of the state ethics commission's civil penalties as well. See M.G.L. c
    268A, § 9(c).


                                     the LEAD ROLE
                                         (Starring)

33. Plaintiff, Lyudmila S. Maslyakova ("Grandma"), is a retired senior citizen of the State of
    Massachusetts, who is presently being deprived by Massachusetts State's highest court
    access to the courts and is being deprived of her property right to operate a motor vehicle.
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                                       the CHARACTERS
                                           (Co-Starring)

    34. Each of the individual justices defendants named in here-above caption is a sitting justice
        of the state's highest court, The Supreme Judicial Court of the Commonwealth of
        Massachusetts ("SJC"), and is an adult citizen of the State of Massachusetts, and is sued
        in his or her official capacity.

                                           the EXTRAS
                                       (Limited Appearance)

    35. Defendants Lynn Police Department ("LPS") are part of City Government in Lynn, MA,
        with Thomas M. McGee as the current mayor, and Michael Margery as Chief of Police
        located 300 Washington St., Lynn, MA 01902.

    36. Defendants Registry of Motor Vehicles ("RMV") are part of the Massachusetts State
        Government, administered under the state's executive branch by the current secretary &
        chief executive officer Stephanie Pollack. , with their close to Lynn location at 9c Everett
        St., Revere, MA 02151.

                                      the PERFORMANCE
                        1
{Let there be light:}

                                              ACT I
                   ("Grandma is cited for violating new handicap placard law")

{Normal sunny day, people are smiling as they are going in and out, of the local store.
Grandparents (husband and wife) pull up to the store, and both lean over toward the middle of
the vehicle and they each give each other a gentle peck on the lips as they have for the past more
than fifty (50) years as the husband and wife. Grandpa slowly gets out of the vehicle, taking his
time to not get stuck in the seat-belt which he always has to wrestle with, closes the passenger
door, and with his eyes, and his right hand, says another temporary bye to his deer wife.
Grandma, with a smile on her face, put the car in reverse, as she attempts to pull away so that she
can do her own shopping nearby, when all of a sudden she hears the police siren and red and blue
lights}




1
  Mass. Civ. R. Pro. Rule 7 are virtually identical to Fed. R. Civ. Pro. Rule 7. See Mass. Civ. R.
Pro.. Rule 7, Reporter's Notes (1973). Because Rule 7(c), demurrers, pleas, and exceptions for
insufficiency of a pleading are abolished, defendants must utilize a motion or answer to attack
any part of this pleadings, which plaintiff comport. See Fed. R. Civ. Pro. Rule 12(b). For
purposes of Fed. R. Civ. Pro. Rule 8 and Rule 10, text that is found within {} are made pursuant
to Fed. R. Civ. Pro. Rule 10(d)(2), as alternative statements of a claim, within this non-verified
complaint written by counsel's perception; accuracy shall be confirmed via normal course of
discovery; are presumed to be stricken unless confirmed by discovery.
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   37. [Synopsys] - Grandma, a senior citizen with disabilities, just dropped off her husband at
       the front of the store utilizing his handicap placard to park in the handicap accessible
       zone; as she attempts to leave, she is cornered and is not allowed to drive away; she is
       cited for violating the new handicap placard law.

   38. On 04/18/2016 Grandma (72 years of age at the time) drives with her husband to go
      shopping; she pulls right up to the entrance of the store and parks in the handicap area -
      she properly has a handicap placard in the rear view window signifying she has authority
      to park there.

{Slight shadow appears as the officer approaches the unsuspecting Grandma, with his vehicle
blocking her in, and the lights fully flashing; the officer approaches her with full governmental
authority, with a gun, with mace/pepper spray, handcuffs, authoritative demeanor, radio is
making chirping and other sounds, and begins to interrogate - Grandma confused and struggles
to locate her driving license, registration and is unable to explain as to why it was her husband's
and not her handicap placard hanging from the rear-view window}

   39. On 04/18/2016 Grandma is cited by the City of Lynn Police Officer for violating the new
       law that punishes citizens that use other peoples handicap placards pursuant to M.G.L. c.
       90, § 2; MA Uniform Citation: R7222546. (Add. 78.)

                                            ACT II
                            ("Grandma losses in Lynn District Court")

   40. [Synopsys] - Grandma attempts to have the state district court reconsider its
       determination that she is responsible for using someone else's handicap placard. She
       brings her motion for reconsideration with affidavits of her husband and witnesses that
       swear she was in the process of dropping him off at the store; a common theme that
       husband and wife have been doing. She also, is a qualifying handicap placard driver
       based on her age and age related disabilities.

   41. On 06/07/2016, the clerk magistrate enters a judgment against Grandma. (Add. 73.)

   42. On 10/20/2016, Grandma, who doesn't speak English very well was not provide an
       interpreter, and her appeal of the clerk magistrate's decision was unsuccessful before the
       Lynn District Court Judge, docket no. 1613MV000901. (Add. 75.)

   43. On 10/31/2016, Grandma retains this counsel who files a motion for reconsideration in
       hopes the Lynn District Court will change its ruling; but the ruling stands. (Add. 57.)


                                              ACT III
                                    ("District Appellate Court")

   44. [Synopsis] - Grandma is shocked to lose in Lynn District Court and with her counsel
       proceeds her appeal to the Appellate Division.
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45. On 01/09/2017, Grandma proceeds with her Appellate Division appeal, docket. no. 16-
    ADMS-20042. (Add. 56.)

46. On 01/22/2017, Grandma files her Appellant's Brief with the Appellate Division. (Add.
    41.)

47. On 02/25/2018 the Appellate Court rules against the Grandma. (Add. 39.)

                                        ACT IV
                                    ("Appeals Court")

48. [Synopsis] - Grandma does not give up, and her counsel continues with the appeal
    process pro bono, which is the first time the Lynn District Court has ever seen happen for
    a motor vehicle citation. However, the Appeals Court starts giving Grandma the run-
    around because of issues with sufficiency of her notice of appeal even though all the
    requirements are met. The paperwork is all there, but because the front cover does not fit
    the "norm" the appeal is rejected.

49. On 09/11/2017, Grandma proceeds to appeal the Appellate Division to the Appeals Court
    pursuant to M.G.L. c. 231, § 109, docket no. 2017-J-0407. (Adds. 22, & 39.) Grandma's
    request to stay suspension of her license pending the appeal was denied. See ibid. at
    paper no. 2.

50. On 01/02/2018, Grandma's appeal is not accepted; "[i]t does not appear that a copy of the
    Notice of Appeal was included with the notice of assembly. (Add. 19, at no. 3, Order.)

51. On 01/29/2018, Grandma's appeal is not accepted; "...entry on the trial court's cover sheet
    that a Notice of Appeal was filed on October 17, 2017 was a clerical error and the
    defendant did not at any time file a notice of appeal in that court." (Id. at no. 5, Order.)

52. On 02/13/2018, Grandma's appeal is finally entered in the Appeals Court Full Court panel
    Case, docket no. 2017-P-1607, only to be prevented from pursuing it; "There is no
    notation on the District Court docket that the defendant filed a timely notice of appeal of
    that decision in accordance with Mass. R. App. P. 4(a) and a clerk of the District Court
    has confirmed that, as of January 23, 2018, no notice of appeal was filed by the
    defendant... While defendant's counsel contends that a timely notice of appeal was filed, I
    do not credit counsel's assertion. In addition, counsel fails to articulate any legal
    argument that could serve the basis for a meritorious appeal." (Add. 20, at no. 8, Order.)

53. Grandma has clearly put the court on notice; "...during the pendency of her hearing, [she]
    medically 'qualified' for a handicap placard at the time she was utilizing the space
    intended for handicapped drivers..." - no redress or even temporary stay of her impending
    driving license suspension was granted. (Add. 23, in ¶ 1.)
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54. On 02/15/2018 Grandma refiles her Notice of Pro Bono Appeal because of the Appeals
    court refusing to accept her appeal and subsequent return of the file due to alleged
    insufficient notice of appeal. petition pursuant to M.G.L. c. 211, § 3 to Supreme Judicial
    Court of Suffolk County Single Justice ("SJC Suffolk") petition to review Appeals
    Suffolk's failure to act on Motion for Relief from Judgment. See Ex. A, p. 41, SJC
    Suffolk County docket.
                                           ACT V
                       ("Supreme Judicial Court for Suffolk County")

55. [Synopsis] - Grandma's Indigency status has already been confirmed both at the
    Appellate Division for the District Court, Single Justice of the Appeals Court, and the
    Appeals Court, yet she was again being delayed procedurally for something that has
    already been determined three times; she is a senior citizen and a qualifying disabled
    individual for whom time is of the essence - a stay was necessary to prevent ensuing
    cancelation of the driving license.

56. On 06/01/2018, Grandma files her Notice of Appeal with the Appeals Court (add. 30) to
    pursue Pro Bono petition pursuant to M.G.L. c. 211, § 3 to Supreme Judicial Court of
    Suffolk County Single Justice ("SJC Suffolk") petition to review Appeals court failure to
    accept her notice of appeal nor stay the ensuing driving license suspension. (Add. 4.)

57. Even though Grandma was charged a filling fee at; 1)Appellate Division (16-ADMS-
    20042); 2) Single Justice Appeals Court (2017-J-0407); 3) Appeals Court Full Panel
    (2017-P-1607); 4) and now in SJC Suffolk. (Add. 3.)

58. Part of the petition was a Motion for Waiver of Fees (add. 6.), with the case having
    implications on the public counsel filed request to report to the full court pursuant to G.L.
    c., § 112, inter alia, "... the elderly belong to a vulnerable group of citizens that warrant
    added protection... elderly facing suspension of their driving license for improper use of
    handicap placard ... [she] qualified for such benefits at the time of operation." (Add. 7.)

59. Grandma's petition explains the confusion with the notice of appeal, and provides
    justification that the Notice of Appeal is in fact compliant with Mass. R.A .P. Rule 3(c); "
    1) Parties are identified; 2) matter is identified with reference to the docket; 3) at the top
    of the first page we see that the 'Massachusetts Appeals Court' is clearly listed first the
    court receiving this packet; 4) subsequent pages contain "APPEAL COURT" in the
    caption; 5) Appeal Court Docket No. has "tbd"; to be determined, with prior appellate
    docket referenced there-under (16-ADMS-20042); 6) and as previously mentioned;
    "Notice of Pro Bono Appeal' is stated in the center, albeit slightly to the right of the
    page." (Add. 11, in § 2.)

60. Grandma's motion for waiver of fees is not even looked at, and her petition is not even
    allowed to be filled. (Add. 2.) (Entire contents of the petition is returned without, entry,
    docketing, or even consideration there is a motion that specifically seeks filling fee
    waiver. She has expended tremendous amount of time and money to appeal court's
    administrative deficiency without even reaching the merits of her case, and she had to
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       repeatedly seek redress with the Registry of Motor Vehicles to prevent suspension by
       maintaining up-to-date communication with the RMV and the courts, which has always
       required extra time and diligence to acquire minimal protection with no guarantee of
       impending suspension of her license.

                                           ACT VI
                            ("Federal Court to Grandma's Rescue")

   61. Grandma's claim relates to the administrative oversight that is exclusively controlled by
       the SJC, the state must assent to removal to federal court, or be in violation of its own
       constitution and legislative law. See the CO-STAR DUTIES supra.

   62. Grandma is the protected class the law was designed to protect; the court lacked subject
       matter jurisdiction to issue any judgments against her. Moreover, being charged (whether
       waived or not) so many times at each appellate step violates Due Process clause of the
       Fourteenth Amendment, and is unconstitutional because of redundant fee charging
       leading to a "windfall" without actually addressing the issue. Cf. Gillespie v. City of
       Northampton, 460 Mass. 148 (2011) (The case only addressed a single fee of $275
       pursuant to M.G.L. c. 30A, § 14, for judicial review under the Massachusetts
       Administrative Procedure Act in Superior Court, as procedurally constitutional.)

   63. What started as a simple ticket given to an elderly Granma for whom the law is designed
       to protect, has resulted in unnecessary delay, multiple appellate court charges, several
       denials, and more importantly she is still subject to her license being administratively
       suspended because the court has failed to grant her request for a stay pending the appeal.
       (Add. 36.)

{With deep monotonic background cello playing, several characters look confused and in a state
of disbelief as the light dims, and so; let there be darkness:}

                                    CALL OF ACTION I
      (Denial of Access to the Court Violates Due Process of the Fourteenth Amendment)

   64. Grandma re-alleges and incorporates all text found within the entire complaint as if
       written herein.

   65. Grandma emotionally suffered having to endure a difficult appeal process that failed to
       offer her redress which required to first stay the impending driving license suspension to
       avoid irreparable and permanent injury; her husband relies upon her to drive him to
       doctor appointments, and other various errands they must complete for maintenance of
       status quo.

   66. Grandma's appeal turned into challenging actual procedural steps that did not even
       concern her issue why she was cited for in the first place. Moreover, without a stay of
       her ensuing suspension of her driving license she lacks “adequate and effective appellate
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        review”, id est, it is impossible without a trial transcript or adequate substitute to have a
        review. See Griffin v. Illinois, 351 U.S. 12, 1956)

    67. Administrative errors by the court, exampli gratia, failing to rule on her motion to
        dismiss as to waiver of fees resulted in administrative blockade of access to the court.

    68. The clerk could have simply denied Grandma's motion for waiver of fees, and direct her
        to follow a procedure that court is accustomed to; however, complete failure to
        acknowledge of such pleading, which requests to waive the administrative procedure
        relating to the fee for which she is being denied, is violation of due process.

    69. Moreover, pursuant to Mass. R.A.P. Rule 10(a)(1) the filling fee is fixed by law.
        Dismissal for failure of appellant in a civil case to comply with Rule 10(a) may be
        addressed by motion. See Mass. R.A.P. Rule 10(c)(Allowing the filling of a motion to
        address noncompliance prior to the court's hearing.)

                                    CALL OF ACTION II
            (Excessive Court Fees Violates Due Process of the Fourteenth Amendment)

    70. Grandma re-alleges and incorporates all text found within the entire complaint as if
        written herein.

    71. An appellant should not be subjected to a battery of appeal fees where some of the
        appellate relief is established in part to alleviate docket clocker from higher courts;
        1)Appellate Division appeal fee is $180 2; 2) Single Justice Appeals Court fee is $315 3; 3)
        Appeals Court Full Panel is $300 4; 4) and now in SJC Suffolk. (Add. 3.)

    72. Grandma can make a good argument that appeal of administrative denial to accept her
        notice of appeal is analogous to Rule 60 relief from Judgment motion for which "[n]o
        additional fees shall be required for such filling". See Mass. R.A.P. Rule 4(a), in ¶ 2.

    73. Alternatively, the claim is supported by federal declaration made in Crawford v. Blue,
        271 F. Supp. 3d 316 (D. Mass. 2017).

                              CALL OF ACTION III, IV, V, & VI
          (42 U.S.C. §§ 1981, 1982, 1983, - Deprivation of Access To The Court of Law )

    74. Grandma re-alleges and incorporates all text found within the entire complaint as if
        written herein.

    75. "The rights protected by this section are protected against impairment by
        nongovernmental discrimination and impairment under color of State law." See 42 U.S.C.
        § 1981(c).

2
  See Mass. R.A.P. Rule 10(a)(1).
3
  See M.G.L. c. 262, §§ 4 & 4C.
4
  See M.G.L. c. 262, § 4. See also Mass. R.A.P. 10(a)(1)
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     76. The judgment of loss of driving license is an unlawful taking of her property right; A[a]l
         citizens shall have the same right to hold personal property. See 42 U.S.C. § 1982.

     77. "Every person who, under color of any statute, ordinance, regulation, custom, or usage ...
         subjects, or causes to be subjected, any citizen of the United States or other person within
         the jurisdiction thereof to the deprivation of any rights, privileges, or immunities secured
         by the Constitution and laws, shall be liable to the party injured in an action at law, suit in
         equity, or other proper proceeding for redress, except that in any action brought against a
         judicial officer for an act or omission taken in such officer’s judicial capacity, injunctive
         relief shall not be granted unless a declaratory decree was violated ...". See 42 U.S.C. §
         1983 (Violation of declaratory judgment in Crawford v. Blue supra at ¶ 5.)

     78. "Every person who, having knowledge that any of the wrongs conspired to be done, and
         mentioned in section 1985 of this title, are about to be committed, and having power to
         prevent or aid in preventing the commission of the same, neglects or refuses so to do, if
         such wrongful act be committed, shall be liable to the party injured, or his legal
         representatives, for all damages caused by such wrongful act, which such person by
         reasonable diligence could have prevented; and such damages may be recovered in an
         action on the case; and any number of persons guilty of such wrongful neglect or refusal
         may be joined as defendants in the action...". See 42 U.S.C. § 1986 (Violation of
         declaratory judgment in Crawford v. Blue supra at ¶ 5.)

                               CALL OF ACTION VII, VIII, & IX
    (Violative of the guarantees of First, Fifth, Ninth & Fourteenth Amendments, and right to be
                                    free from purchasing justice,)

     79. Grandma re-alleges and incorporates all text found within the entire complaint as if
        written herein.

     80. Grandma was denied substantive and procedural due process because the court lacked
         subject matter jurisdiction to find her responsible for violating a law that is designed to
         protect her, and erroneous refusal by the court to accept her Notice of Appeal which was
         obvious to the parties and lower court it was sufficient.

     81. Grandma is denied equal protection due to her "disability" deemed not qualifying even
         though it clearly has been proved she falls within the protected class 5. Moreover, the
         ability to cure the deficiency, if any, is a simple administrative task which does not
         warrant punishment that includes a hefty fine of $500 (over $700 with court fees) and
         thirty (30) day loss of license.




5
  Where a statute discriminates on the basis of a suspect classification, the statute is subject to
strict judicial scrutiny. See Commonwealth v. Weston W., 455 Mass. 24 (2009).
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    82. arts. 1, 10 & 11 of the Declaration of Rights of the Massachusetts Constitution guarantee
        right to Equal Protection, Due Process and art. 11 right to being free from having to
        "purchase" justice.

    83. Grandma was not offered a right to a jury trial as a choice, which cannot be deprived
        without a valid waiver. See Part The First arts. 12 & 15, and The Initiative II. § 2, at ¶ 3. 6

                                 CALL OF ACTION X & XI
            (Discrimination and Obstruction to access to a court of law - ADA, § 504)

    84. Grandma re-alleges and incorporates all text found within the entire complaint as if
        written herein.

    85. The state made it unlawful for Grandma to park in handicap designated areas which are
        designed to protect a disability class to which she is a member of. By use of punitive
        damages and loss of property right, she is economically restricted from parking in an area
        that others similarly situated class members are able to access.

                                            EPILOGUE

WHEREFORE, Plaintiff, Grandma, humbly prays for this Honorable Court to enter judgment in
her favor as follows:

A.     Asserting federal jurisdiction, so that the claim against the SJC can be heard in federal
court.

B.      Issue a judgment declaring barring access to the court on matters concerning fundamental
rights concerning possession of a property right warrant immediate consideration for a stay to
prevent permanent and irreparable harm as result of administrative suspension of a driving
license which is unlawful in violation of the Fifth and Due Process Clause of the Fourteenth
Amendments to the United States Constitution and therefore is unconstitutional and unlawful.

C.       Issue a judgment declaring counsel's declaration as to his client's Indigency sufficiently
protects state's legitimate and narrow interest of deterring frivolous fillings, and offers adequate
protections through availability of contempt of court or disciplinary proceedings, to allow such
filling; or at the very least not be the cause of not looking at the merits of appeal - fees can be
made part of judgment or be determined at a later time.




6
  This counsel's position Northeast Line Const. Corp. v. J.E. Guertin Co., Inc., 955 N.E. 2d 308
(2011) should be, in part, struck down to recognize "parties have a right to a trial by jury; and
this method of procedure shall be held sacred"; such guaranteed right should not have to be
"raised" and should be, as directed by The First Part art. 15, always available until there is a valid
waiver. “In civil cases, waiver of a fundamental right is never presumed....” Spence v.
Reeder, 382 Mass. 398 (1981), citing Aetna Ins. Co. v. Kennedy, 301 U.S. 389 (1937).
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D.      Pursuant All Writs Act (28 U.S.C. § 1651) issue a Writ of Mandamus directing
compliance by the state court, or pursuant to court's equitable authority, issue an injunction
against the Defendant's, which clearly a declaratory relief will not suffice to prevent future
constitutional infirmities. See Crawford v. Blue, 271 F. Supp. 3d 316 (D. Mass. 2017) ("this
Court has every confidence that she, in cooperation with the Massachusetts General Court,
will—without federal judicial order—obey the United States Constitution and devise a procedure
to refund the filing fee to those held to have been wrongfully cited for motor vehicle infractions.
How she does it ought be up to her."). However, here we are again, and still there is no refund
policy in place; your "...practice to assume that public officials will comply with the law declared
by a court" without resorting to an injunction has not only failed you, but failed my client - Writ
of Mandamus is warranted. See id.

E.     Money Judgment for damages, injury, violations, attorney fees, costs, and other relief
pursuant to call of actions.

F.      For such other and further relief, to cure injury/s and legal costs, as the Court may deem
just, proper, and appropriate.

                            WRITTEN FOR A JURY AUDIENCE
                                 (right to a jury preserved)

The aforementioned is true and accurate to the best of my knowledge and recollection. Signed
under pains and penalty of perjury on this 3rd day of October, in the year 2018 of our Lord.



__________________________
Legal Code Jurist
                                                             Written on behalf of,
                                                             Lyudmila S. Maslyakova,



Dated: 10/03/2018

                                                             _______________________
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                                         ADDENDUM
                                      ("Add. 1 to Add. 78")

SJC for Suffolk County denial access to justice (Jul. 31, 2018).   .   .   Add. 1

SJC for Suffolk County fee for justice (Jun. 13, 2018).       .    .   .   Add. 2

Lynn Police Department v. Lyudmila S. Maslyakova (Jun. 1, 2018) .      .   Add. 3
Pro Bono M.G.L. c. 211, § 3 Petition to the SJC for Suffolk County

Lynn Police Department v. Lyudmila S. Maslyakova (Feb. 15, 2018)       .   Add. 21
Pro Bono Appeal to the Appeals Court

Lynn District Court docket    .       .      .       .        .    .   .   Add. 32

Lynn Police Department v. Lyudmila S. Maslyakova (Aug. 25, 2017)       .   Add. 39
Decision and Order for Appellate Division Case no. 16-ADMS-20042

Lynn Police Department v. Lyudmila S. Maslyakova (Jan. 22, 2017)       .   Add. 40
Appellant's Brief for Appellate Division Case no. 16-ADMS-20042

Lynn Police Department v. Lyudmila S. Maslyakova (Oct. 31, 2016)       .   Add. 57
Motion for Reconsideration in District Court, doc. no. 1613MV000901

Disabled Persons Parking Identification Placard Exp. 10/24/21      .   .   Add. 66

Disabled Persons Parking Identification Placard Exp. 07/30/09      .   .   Add. 77
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